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 1   RANDY SUE POLLOCK
     Attorney at Law (CSBN 64493)
 2   2831 Telegraph Avenue
     Oakland, CA 94609
 3   Telephone: (510) 763-9967
     Facsimile: (510) 272-0711
 4
     MICHAEL STEPANIAN
 5   Attorney at Law (CSBN 037712)
     819 Eddy Street
 6   San Francisco, CA 94109
     Telephone: (415) 771-6174
 7   Facsimile: (415) 474-3748
 8   Attorneys for Defendant
     JAMES ASHFORD WHITE
 9
10                                UNITED STATES DISTRICT COURT
11                             EASTERN DISTRICT OF CALIFORNIA
12                                                –ooo–
13
      UNITED STATES OF AMERICA,                         CR. S-07-570-FCD
14
                     Plaintiff,
15
      vs.                                               REVISED STIPULATION
16                                                      RE. SCHEDULE FOR SENTENCING
                                                        MEMORANDUM AND DISCLOSURE
17    JAMES ASHFORD WHITE,                              OF PRESENTENCE REPORT;
                                                        ORDER
18                   Defendant.                         _________________________________
                                                    /
19
20          Given that sentencing in this case has been continued to October 12, 2010,
21   IT IS HEREBY STIPULATED by and between Randy Sue Pollock and Michael
22   Stepanian, counsel for defendant James Ashford White, and Assistant United States
23   Attorney Heiko Coppola that the following shall be the revised schedule for disclosure of
24   the pre-sentence report and for filing of objections and sentencing memorandum:
25          Counsel’s written objections to the
26          Pre-sentence Report shall be delivered
27          to the Probation Officer and opposing
28          counsel no later than:                                  September 20, 2010



     Revised Stipulation Re. Schedule for Sentencing
     Memorandum and Disclosure of Presentence Report; Order
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 1          The Pre-Sentence Report shall be filed
 2          with the Court and disclosed to counsel
 3          no later than:                                            September 27, 2010
 4
 5          Motion for Correction of the Pre-Sentence;
 6          Sentencing Memorandum:                                    October 4, 2010
 7
 8   U.S. Probation Officer Julie Fowler has no objection to this schedule.
 9
10   Date: July 19, 2010                            /S/ RANDY SUE POLLOCK
                                                  Randy Sue Pollock
11                                                Michael Stepanian
                                                  Counsel for Defendant
12                                                JAMES ASHFORD WHITE
13
14
15
     Date: July 19, 2010                            /S/ HEIKO COPPOLA
16                                                Heiko Coppola
                                                  Assistant United States Attorney
17
18
19          IT IS SO ORDERED:
20
21   Date: July 20, 2010                      _______________________________________
                                              FRANK C. DAMRELL, JR.
22
                                              UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28



     Revised Stipulation Re. Schedule for Sentencing
     Memorandum and Disclosure of Presentence Report; Order                                2
